      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 1 of 8



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IMMANUEL UNITED CHURCH                         §
OF CHRIST,                                     §
                                               §
            Plain,tiff,                        §
                                               §
VS.                                            §          CASE NO. 4:17-cv-1329
                                               §
PHILADELPHIA INDEMNITY                         §
INSURANCE COMPANY,                             §
ENGLE MARTIN & ASSOCIATES,                     §
INC., JOHN MILLER and                          §
SUSAN SABOUNI.                                 §
                                               §
            Defendants.                        §
            DEFENDANT PHILADELPHIA INDEMNITY INSURANCE
                   COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to 28 U.S.C.          § 1332, 1441(b) and 1446(a), Philadelphia
Indemnity Insurance Company, a Defendant in the above-styled case, files this

Notice of Removal from the District Court of Harris County, Texas, 164th Judicial

District, to the United States District Court for the Southern District of Texas,

Houston Division.

                                      INTRODUCTION

       1.        Plaintiff is Immanuel United Church of Christ (“Plaintiff’).

       2.        Philadelphia Indemnity Insurance Company (“Philadelphia”) is a

Defendant that Plaintiff has named.

       3.        Engle Martin & Associates, Inc. (“Engle Martin”) is another Defendant

that Plaintiff has named.
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 2 of 8



        4.         John Miller is the third Defendant Plaintiff has named in this case.

        5.         Susan Sabouni, incorrectly named as “Susan Saboundi”, is the fourth

and last Defendant Plaintiff has named in this case.

        6.         Plaintiff commenced this first-party insurance case on April 14, 2017.

Plaintiff has asserted causes of action against arising under Texas law against

Philadelphia for allegedly breaching the insuring agreement, violating various

provisions of chapters 541 and 542 of the Texas Insurance Code, and breaching the

common-law duty of good faith and fair dealing. Plaintiff has sued the three other

Defendants for allegedly violating various provisions of chapters 541 of the Texas

Insurance Code.

        7.         Philadelphia learned of Plaintiffs filing of this lawsuit in state court on

April 18, 2017, four days after Plaintiff commenced the action. Philadelphia is

therefore timely filing this Notice of Removal, as it is removing this action may be

filed “within thirty days after receipt by the defendant, through service or

otherwise, of a copy of an amended pleading, motion, order or other paper from

which it may first be ascertained that the case is one which is or has become

removable.” 28 U.S.C.         §   1446(b)(3).

                                           VENUE     Is PROPER

        8.         Pursuant to 28 U.S.C.        §   144 1(a), this action may be removed to this

Court because it is the district and division embracing Harris County, Texas, the

county in which the state court action is pending.




PhILADELPhIA INDEMNITY INSURANCE COMPANY’S NOTICE OF REMOVAL                              PAGE   2
5227652 vi (5522000259 000)
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 3 of 8



                                        BASIS FOR REMOVAL

        9.         This is a civil action that falls under the Court’s original jurisdiction

pursuant to 28 U.s.c.           § 1332(a) and is one that may be removed to this Court based
on diversity of citizenship in accordance with 28 U.S.C.        § 1441 and 1446.
A.     Complete Diversity of Citizenship Exists Between Plaintiff and
       All Properly Joined and Served Defendants.

       10.         The “forum-defendant” rule provides that a civil action may not be

removed to federal court on the basis of diversity of citizenship jurisdiction “if any of

the parties in interest properly joined and served as defendants is a citizen of the

State in which such action is brought.” 28 U.S.C.            § 1441(b)(2) (emphasis added).
Thus, as will be shown below, although one of the four Defendants sued by Plaintiff

is an individual who is a resident of Texas, that Defendant has not been served.

       11.         Plaintiff “is a non-profit religious organization serving Spring, Texas

and the surrounding areas.” Pl.’s Orig. Pet.        ¶ 12, at 3 (included as a part of Exhibit
5). Philadelphia issued a policy of insurance to Plaintiff for “the insured property,

which is a collection of buildings located at 26501 Border Street, Spring, Texas

77373.” Id.      ‘j 13, at 3.
       12.          Philadelphia is a corporation organized and existing under the laws of

the State of Pennsylvania. See Affidavit of Eugene Angiolillo, attached as Exhibit 1

(attesting to the facts that Philadelphia is incorporated in and maintains its

principal place of business in Pennsylvania. See id.




PHILADELPhIA INDEMNITy INSURANCE COMPANY’S NOTICE OF REMOVAL                           PACE 3
5227652 vi (55220 00259 000)
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 4 of 8



       13.         Engle Martin is a corporation organized and existing under the laws of

the State of Georgia. It also maintains its principal place of business in Georgia. See

Affidavit of Donald L. Ouzts, attached as Exhibit 2.

       14.         Defendant Susan Sabouni “is an individual residing in Pennsylvania.”

P1’s Orig. Pet. ¶ 6, at 2.

       15.         Defendant John Miller is an individual residing in Texas. See id. At

this time, however, Plaintiff has not obtained service of process upon John Miller.

See Affidavit of John Miller, attached as Exhibit 3.

       16.         A majority of the federal courts considering “snap removal,” as

Philadelphia seeks here, have held that 28 U.S.C.         §   1441(b)(2) permits removal as

long as no in-state defendant has been served. The majority of those courts have

held that a non-forum defendant       —   such as Philadelphia, in this case   —   can remove

prior to service of any in-state defendant. See, e.g., Regal Stone Ltd. u. Longs Drug

Stores Cal., L.L.C., 881 F. Supp. 2d 1123, 1128-29 (N.D. Cal. 2012); In re Diet Drugs

Prods. Liab. Litig., 875 F. Supp. 2d 474, 477 (E.D. Pa. 2012); Carrs v. AVCO Corp.,

Civil No. 3:11-CV-3423-L, 2012 WL 1945629, at *2 (N.D. Tex. May 30, 2012);

Watanabe v. Lankford. 684 F. Supp. 2d 1210, 1219 (D. Haw. 2010); North v.

PrecisionAirmotive Corp., 600 F. Supp. 2d 1263, 1270 (M.D. Fla. 2009).

       17.         Most courts following this majority approach permitted removal

without consideration of whether the defendant removing the case had been served

at the time of removal. See, e.g., Poznanovich v. AstraZeneca Pharms. LP, Civ. No.

3:11-cv-04001, 2011 WL 6180026, at *4 (D.N.J. Dec. 12, 2011) (“The Court finds that


PIIILADFLPHIA INDEMNITY INSURANCE CoMpANY’s NOTICE OF REMOVAL                          PACE   4
5227652 vi (55220 00259000)
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 5 of 8



the language of the statute is plain, and, thus, adherence to the plain language is

required.”); Robertson v luliano, No. RDB-10-1319, 2011 WL 453618, at *2 (D. Md.

Feb. 4, 2011) (“The majority of courts that have interpreted section 1441(b) apply

the plain language of the statute to allow removal when none of the forum

defendants have been served             In this case, applying the plain meaning rule does

not lead to absurdity or an outcome at odds with congressional intent.”) (citations

omitted); Boyer v. Wyeth Pharms., Inc., No. 12739, 2012 WL 1449246, at *23 (ED.

Pa. Apr. 26, 2012) (the pre-service removal of this action by a non-forum

defendant where the forum defendant had not been served prior to removal was

proper under the unambiguous language of §1441(b).”); Hutchins v. Bayer Corp.,

No. 08-640, 2009 WL 192468, at *6 & *11 (D. Del. Jan. 23, 2009) (denying motion to

remand upon finding that “[t]he language of        §   1441 (b) is plain and unambiguous”).

These courts found there is simply no statutory requirement that the removing

defendant must first have been served with the complaint.

B.     The Amount in Controversy Exceeds $75,000.

       18.         Plaintiffs Original Petition contains the following statement of the

monetary relief Plaintiff seeks by way of this lawsuit: “Plaintiff stipulates that the

damages in this matter are in excess of $1,000,000.” Pl.’s Orig. Pet.     ¶   8, at 2.

       19.         Plaintiff therefore seeks damages, exclusive of interest and attorney’s

fees, in excess of the jurisdictional minimum of $75,000.




PHILADELPHIA INDEMNITY INSURANCE COMPANY’S NOTICE OF REMOVAL                             PAGES
5227652 vi (55220 00259000)
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 6 of 8



C.      Removal Is Appropriate Under the Court’s Diversity Jurisdiction.

        20.         In light of these facts, the state court claim may be removed to this

Court because: (i) this action is a civil action pending within the jurisdiction of the

United States District Court for the Southern District of Texas; (ii) none “of the

parties in interest properly joined and served as defendants is a citizen of the State

in which such action is brought”, 28 U.S.C.           § 1441(b)(2); and   (iii) the amount in

controversy exceeds $75,000, exclusive of interests and costs.

                                  FILING OF REMOVAL PAPERS

        21.         Pursuant to 28 U.S.C.    § 1446(d), Philadelphia is providing written
notice of the filing of this Notice of Removal to all other counsel of record. Further,

Philadelphia is filing a copy of this Notice of Removal with the Clerk of the 164th

Judicial District Court of Harris County, Texas, where Plaintiff commenced this

action.

        22.         Philadelphia is filing the following items concurrently with this Notice

of Removal, or attaching them to this Notice of Removal as required by Southern

District of Texas Local Rule 81: (a) a completed civil cover sheet, JS-44 (Exhibit 4);

(b) all executed process in the case (none); (c) all pleadings asserting causes of

action (Exhibit 5); (d) any orders signed by the state judge (none); (e) a copy of the

docket sheet in the state court action (Exhibit 6); and           (0 a list of all counsel of
record (Exhibit 7).




PHILADELPHIA INDEMNITY INSURANCE COMPANY’S NOTICE OF REMoVAL                          PAGE   6
5227652 vi (55220 00259.000)
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 7 of 8



                                     OTHER REMOVAL MATTERS

       23.         The three other Defendants sued in this cause, Engle Martin &

Associates, Inc., John Miller and Susan Sabouni, and have consented to the removal

of this action. 28 U.S.C.      §   1446(a). consents to removal are attached as Exhibit 8.

                                            CONCLUSION

       24.          Philadelphia gives notice to the court of their removal of the above-

captioned action from the 164th Judicial District court of Harris county, Texas,

and request that further proceedings be conducted in the United States District

court for the Southern District of Texas, Houston Division, as provided by law.


          Dated: April 28, 2017

                                               Respectfully submitted,


                                                      /s/   William R. Pilat
                                               William R. Pilat
                                               Texas Bar No. 00788205
                                               S.D. Tex. No. 18655
                                               KANE RUSSELL COLEMAN LOGAN PC
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                                               ATTORNEY-IN-CHARGE FOR DEFENDANT
                                               PHILADELPHIA INDEMNITY INSURANCE
                                               COMPANY




PHILADELPHIA INDEMNITY INSURANCE COMPANY’S NOTICE OF REMOVAL                          PAGE   7
5227652 vi (55220 00259.000)
      Case 4:17-cv-01329 Document 1 Filed in TXSD on 04/28/17 Page 8 of 8



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2017, a true and correct copy of the
foregoing pleading was forwarded to all other counsel of record, as listed below,
through the electronic case filing system of the United States District Court for the
Southern District of Texas:

          Ryan K. Haun
          D. Douglas Mena
          HAUN MENA, PLLC
          3006 Brazos Street
          Houston, Texas 77006

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                                          William R. Pilat




PIIILADELPuJA INDEMNITY INSURANCE COMPANY’S NOTICE OF REMOVAL                 PAGES
5227652 v( (55220.002590(H))
